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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
__________________________________________________________________________

ROWVAUGHN WELLS,

       Plaintiff,

v.                                                       Case No. 2:23-cv-02224-MSN-atc
                                                         JURY DEMAND

THE CITY OF MEMPHIS, et al.,

      Defendants.
______________________________________________________________________________

                  ORDER REFERRING DISCOVERY DISPUTE
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       Before the Court is a discovery dispute concerning Federal Rule of Civil Procedure 34,

which has arisen between the parties.   This issue is hereby REFERRED to the United States

Magistrate Judge Annie T. Christoff for determination or for proposed findings and

recommendation, as appropriate.

       IT IS SO ORDERED, this 3rd day of April, 2025.


                                                  s/ Mark S. Norris
                                                  MARK S. NORRIS
                                                  UNITED STATES DISTRICT JUDGE
